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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

VALLEYRIDGE SQUARE, LLC                            §
                                                   §
        Plaintiff                                  §
                                                   §
                                                   §                     Civil Action No.
                                                   §
SENECA INSURANCE COMPANY                           §
                                                   §
        Defendant                                  §


                                 INDEX OF MATTERS BEING


        Pursuant to Rule 81.1 of the Local Rules of the United States District Court for the

Southern District of Texas, the following is an index of matters being filed in this case:

        1.      Notice of Removal;

        2.      Civil Cover Sheet;

        2.      Index of Matters Being Filed;

        4.      Designation of Counsel; and

        5.      A copy of the Denton County District Clerk’s file for this case has been
                requested including:

                a.      Copy of the Docket Sheet

                b.      Plaintiff’s Original Petition (filed 8/28/17);

                c.      Case Information Sheet (filed 8/28/17);

                d.      Request for Issuance of Citation (filed 8/28/17);

                e.      Record/Copy Request (filed 8/29/17);

                f.      Citation by Certified Mail –Seneca Insurance Company, Inc. (filed
                        8/31/17);


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                                                                                       EXHIBIT A
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                g.      Service Returned – Seneca Insurance Company, Inc. (filed 9/5/17);

                h.      Defendant’s Original Answer (filed 9/29/17);

                                             Respectfully submitted,

                                             THOMPSON, COE, COUSINS & IRONS, L.L.P.

                                             By:  /s/ James N. Isbell
                                                James N. Isbell
                                                Attorney-in-Charge
                                                Bar No. 10431900
                                                Email: jisbell@thompsoncoe.com
                                                Christopher H. Avery
                                                Bar No. 24069321
                                                cavery@thompsoncoe.com
                                             One Riverway, Suite 1400
                                             Houston, Texas 77056
                                             Telephone: (713) 403-8210
                                             Telecopy: (713) 403-8299

                                             ATTORNEYS SENECA INSURANCE
                                             COMPANY




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